  Case 4:19-cr-06049-SMJ      ECF No. 108-1     filed 05/28/20   PageID.440 Page 1 of 2

                                EXHIBIT / WITNESS LIST
                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WASHINGTON
        UNITED STATES OF AMERICA
                                                          LOCATION:           Richland
                     -vs-
                                                          Case No.:           4:19-CR-6049-SMJ-1
         IVAN RENTERIA CASTILLO

                   MOTION TO DISMISS HEARING DATE: May 28, 2020

HON. SALVADOR MENDOZA, JR.                    Kim Allen                       Cora Vargas
        Presiding Judge                  Court Reporter                    Courtroom Deputy
                                                                        Adam Pechtel
             Stephanie Van Marter
                                                                      Douglas McKinley
             Government Counsel                                       Defense Counsel


 Date          Exhibits Discussed      Testifying For                   Name of Witness
                                                          Alice Rogers, Task Force Office, FBI Safe
                                        Government
                                                          Street Task Force
                                                          Edgar Rogel, Special Agent, FBI Safe
                                        Government
                                                          Streets Task Force
                                                          Sgt. Brayden J. Moos, FBI Safe Streets Task
                                        Government
                                                          Force
      Case 4:19-cr-06049-SMJ          ECF No. 108-1          filed 05/28/20   PageID.441 Page 2 of 2

EXHIBIT / WITNESS LIST - Page 2                                        United States -vs- Renteria Castillo
                                                                       Case No. 4:19-CR-6049-SMJ-1



 Pltf's   Deft's                               Used w/
 Exh.     Exh.
                   Date Offered    Admitted
                                               Witness                    Description of Exhibits
                                  5/28/2020              Affidavit in Support of GPS Ping Order (Discovery Pages
  1
                                  stipulated             0000121-158, Exhibit Pages 001-038)
                                                         Affidavit in Support of Search Warrant for Black LG Cell
                                  5/28/2020
  2                                                      Phone (Discovery Pages 0000326-360, Exhibit Pages 039-
                                  stipulated
                                                         073)
                                  5/28/2020              Interview of Duviel Humberto Solares Gastelum
  3
                                  stipulated             (Discovery Pages 10000123-124, Exhibit Pages 074-075)
                                  5/28/2020              Interview of Efrain Carillo Gonzales
  4
                                  stipulated             (Discovery Pages 10000123-124, Exhibit Pages 076-077)
                                                         Transcription of Recorded Interview of Humberto Solares
  5                                                      Gastelum (Exhibit Pages 078-110)

                                                         Transcription of Recorded Interview of Efrain Carillo
  6                                                      Gonzales (Exhibit Pages 111-136)




                                  5/28/2020               Side-by-Side Translation of Recorded Interview
            1
                                  stipulated              of Efrain Carrillo Gonzalez (pp. 1000-1017)




Exhibits retained by counsel (hearing held videoconference due to COVID-19)



Adam Pechtel                                                      Stephanie Van Marter
Defense Counsel                                                   Government Counsel
